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        (if known)




                             Instructions for Bankruptcy Forms for Non-Individuals,




doing business as
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                                     Document      Page 2 of 11    if known




              Check one:




              Check all that apply




            Check one:




                           Check all that apply




                                      attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
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                                             Document      Page 3 of 11    if known




                     Check all that apply:
this district?




                                                                    Check all that apply.




                            Check one:
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        X




        X
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(if known)
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    Penalty for making a false statement of concealing property:
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Check if applicable
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